Case 1:18-cv-10933-RA Document 71-4 Filed 05/13/19 Page 1 of 18

EXHIBIT 4
Case 1:18-cv-10933-RA Document 71-4 Filed 05/13/19 Page 2 of 18

 

fir P. Asielde Clerk i. Ofhee
Chil Clerk and £0 Cagle Sivect
Legal Counsel be the Court Many, New York 122004 095

January 22, 2018
Mr. Manuel P. Asensio
400 East 54 St Street
Apartment 29B
New York, NY 10022

Re: Matter of Asensio v Bannon

Dear Mr. Asensio:

Your proposed order to show cause was reviewed by Judge Leslie E. Stein
and Judge Stein declined to sign the order.

Your motion for a stay, which was submitted to the Court on January 2, 2018,
remains pending before the Court.

Very truly yours,

f

owes

Uinots
ak Davis

Deputy Clerk

RMM:mg
cc: Hon. Leslie E. Stein
Pedro A. Morales Jr., Esq.
Case 1:18-cv-10933-RA Document 71-4 Filed 05/13/19 Page 3 of 18

f New Youk

Hal,
Count of Appeals

 

fir P Aniclle Clerk s Office
Chil Clerk and | 20 Cagle Sireet
Legal Counsel be the Count Many, New York 1220 1-4 O95

Decided February "15, 2018

Mo. No, 2018-150 Motion for leave to appeal denied.
In the Matter of Manuel P. Asensio, Chief Judge DiFiore took no part.
Appellant,

Vv.

Nancy M. Bannon,
Respondent.

(AD No. O.P. 124/2017)
Case 1:18-cv-10933-RA Document 71-4 Filed 05/13/19 Page 4 of 18

State of New York
Court of Appeals

Decided and Entered on the
fifteenth day of February, 2018

Present, Hon. Jenny Rivera, Senior Associate Judge, presiding.

 

Mo. No. 2018-61
In the Matter of Manuel P.

Asensio,
Appellant,
Vv.
Nancy M. Bannon,
Respondent.

(AD No. O.P. 124/17)

In the Matter of Manuel P.

Asensio,
Appellant,
Vv.
Nancy M. Bannon,
Respondent.

(AD No. O.P. 125/17)

 

Appellant having appealed and moved for a stay in the above
causes;

Upon the papers filed and due deliberation, it is

ORDERED, on the Court's own motion, that the appeals
are dismissed, without costs, upon the ground that no substantial

constitutional question is directly involved; and it is further
Case 1:18-cv-10933-RA Document 71-4 Filed 05/13/19 Page 5 of 18

Motion No. 2018-61 ~ 2 - February 15, 2018

ORDERED, that the motion for a stay is dismissed as

academic.

Chief Judge DiFiore took no part.

fh

 

John P. Asiello
Clerk of the Court
Case 1:18-cv-10933-RA Document 71-4 Filed 05/13/19 Page 6 of 18

 

fir FP Asielle
Chil Clerk and

Decided February"15, 2018

Mo. No. 2018-61

In the Matter of Manuel P. Asensio,
Appellant,
Vv,
Nancy M. Bannon,
Respondent.
(AD No. O.P. 124/17)

 

In the Matter of Manuel P. Asensio,
Appellant,
Vv.
Nancy M. Bannon,
Respondent.
(AD No. O.P. 125/17)

Sto of Now York

Count of Appeals

Clerk s Office
20 Eagle Slneel’
Many, New York, 12201-4 095

On the Court's own motion, appeals dismissed, without costs,
upon the ground that no substantial constitutional question is
directly involved.

Motion for a stay dismissed as academic.

Chief Judge DiFiore took no part.
Case 1:18-cv-10933-RA Document 71-4 Filed 05/13/19 Page 7 of 18

State of New York
Court of Appeals

Decided and Entered on the
fifteenth day of February, 2018

Present, Hon. Jenny Rivera, Senior Associate Judge, presiding.

 

Mo. No. 2018-136
In the Matter of Manuel P.

Asensio,
Appellant,
Vv.
Nancy M. Bannon,
Respondent.

(AD No. O.P. 125/17)

 

Appellant having moved for leave to appeal to the Court
of Appeals in the above cause;

Upon the papers filed and due deliberation, it is

ORDERED, that the motion is denied.

Chief Judge DiFiore took no part.

(lle

John P. Asiello
Clerk of the Court

 
Case 1:18-cv-10933-RA Document 71-4 Filed 05/13/19 Page 8 of 18

 

 

Jir PB. Anielle
Chick Clerk, and

Decided February "15, 2018

Mo. No. 2018-136

In the Matter of Manuel P. Asensio,
Appellant,
Vv.
Nancy M. Bannon,
Respondent.
(AD No. O.P. 125/17)

Slale of New York
Clerk s Office

20 Eagle Fdueul!
Mbany, New York 122004 O95

Motion for leave to appeal denied.
Chief Judge DiFiore took no part.
Case 1:18-cv-10933-RA Document 71-4 Filed 05/13/19 Page 9 of 18

State of New York
Court of Appeals

Decided and Entered on the
fifteenth day of February, 2018

Pr esent, Hon. Jenny Rivera, Senior Associate Judge, presiding.

 

Mo. No. 2018-150
In the Matter of Manuel P.

Asensio,
Appellant,
Vv.
Nancy M. Bannon,
Respondent.

(AD No. O.P. 124/2017)

 

Appellant having moved for leave to appeal to the Court
of Appeals in the above cause;

Upon the papers filed and due deliberation, it is

ORDERED, that the motion is denied.

Chief Judge DiFiore took no part.

Mla

John P. Asiello
Clerk of the Court

 
Case 1:18-cv-10933-RA Document 71-4 Filed 05/13/19 Page 10 of 18

State of New York
Court of Appeals

Decided and Entered on the
fifteenth day of February, 2018

Present, Hon. Jenny Rivera, Senior Associate Judge, presiding.

 

Mo, No. 2018-143
In the Matter of Manuel Asensio,
Appellant,
Vv.
Lawrence J. Marks, &c.,
Respondent.
(AD No. O.P. 130/2017)

 

Appellant having appealed and moved for leave to appeal to
the Court of Appeals in the above cause;

Upon the papers filed and due deliberation, it is

ORDERED, on the Court's own motion, that the appeal
is dismissed, without costs, upon the ground that no substantial
constitutional question is directly involved; and it is further

ORDERED, that the motion for leave to appeal is denied.

fh lial

John P. Asiello
Clerk of the Court

Chief Judge DiFiore took no part.

 
Case 1:18-cv-10933-RA Document 71-4 Filed 05/13/19 Page 11 of 18

Slate of New York

Count of Appeals

 

flr BP Asielle Clerk s Office
Chil Clerk and | 20 Cagle Firect
Legal. Counsel te the Cound | Mbany, Naw York, 12201-4095

Decided February 15, 2018

Mo. No. 2018-143 On the Court's own motion, appeal dismissed, without costs,
In the Matter of Manuel Asensio, upon the ground that no substantial constitutional question is
Appellant, directly involved.
Vv. Motion for leave to appeal denied.
Lawrence J. Marks, &c., Chief Judge DiFiore took no part.
Respondent.

(AD No. O.P. 130/2017)
Case 1:18-cv-10933-RA Document 71-4 Filed 05/13/19 Page 12 of 18

State of New York
Court of Appeals

Decided and Entered on the
fifteenth day of February, 2018

Present, Hon. J enny Rivera, Senior Associate Judge, presiding.

 

Mo. No. 2018-151
In the Matter of Manuel P.

Asensio,
Appellant,
Vv.
Adetokunbo Fasanya,
Respondent.
(New York County Index No.
155833/17)

 

Appellant having appealed and moved for leave to appeal to
the Court of Appeals in the above cause;

Upon the papers filed and due deliberation, it is

ORDERED, on the Court's own motion, that the appeal
is dismissed, without costs, upon the ground that the order
appealed from does not finally determine the proceeding within
the meaning of the Constitution; and it is further

ORDERED, that the motion for leave to appeal is dismissed

upon the ground that the order sought to be appealed from does
Case 1:18-cv-10933-RA Document 71-4 Filed 05/13/19 Page 13 of 18

Motion No. 2018-151 ~~2 February 15, 2018

not finally determine the proceeding within the meaning of the

Constitution.

Chief Judge DiFiore took no part.

Vif lade

 

¥ John P. Asiello
Clerk of the Court
Case 1:18-cv-10933-RA Document 71-4 Filed 05/13/19 Page 14 of 18

Stale of New Yonk

Court of Appeals

Clerk s Office
20 Eagle Sinect
Many, New York 1220 1-4 095

 

Decided February: 15, 2018

Mo. No. 2018-151 On the Court's own motion, appeal dismissed, without costs,
In the Matter of Manuel P. Asensio, upon the ground that the order appealed from does not finally
Appellant, determine the proceeding within the meaning of the
Vv. Constitution.
Adetokunbo Fasanya, Motion for leave to appeal dismissed upon the ground that the
Respondent. order sought to be appealed from docs not finally determine the
(New York County Index No. 155833/17) proceeding within the meaning of the Constitution.

Chief Judge DiFiore took no part.

 
Case 1:18-cv-10933-RA Document 71-4 Filed 05/13/19 Page 15 of 18

State of New York
Court of Appeals

Decided and Entered on the
fifteenth day of February, 2018

Present, Hon. Jenny Rivera, Senior Associate Judge, presiding.

 

Mo. No. 2018-152
In the Matter of Manuel P.A.,
Appellant,
Vv.
Emilie B.,
Respondent.

 

Appellant having appealed and moved for leave to appeal to
the Court of Appeals in the above cause;

Upon the papers filed and due deliberation, it is

ORDERED, on the Court's own motion, that the appeal
is dismissed, without costs, upon the ground that the order
appealed from does not finally determine the ereceadiing within
the meaning of the Constitution; and it is further

ORDERED, that the motion for leave to appeal is dismissed
upon the ground that the order sought to be appealed from does
not finally determine the proceeding within the meaning of the
Constitution.

Chief Judge DiFiore took no part.

ZL Kad:

John P. Asiello
Clerk of the Court

 
Case 1:18-cv-10933-RA Document 71-4 Filed 05/13/19 Page 16 of 18

Slate of New Yank

Caunt of Appeals

 

ptr P Anivlle Clerk s Office
Chi Clerk and 20 Cagle Wincet
Legal Counsel le the Court | Mbany, New Youk 12200-4095

Decided February 15, 2018

Mo. No. 2018-152 On the Court's own motion, appeal dismissed, without costs,
In the Matter of Manuel P.A., upon the ground that the order appealed from does not finally
Appellant, determine the proceeding within the meaning of the
ce Constitution.
Emilie B., Motion for leave to appeal dismissed upon the ground that the

order sought to be appealed from does not finally determine the
proceeding within the meaning of the Constitution.
Chief Judge DiFiore took no part.

Respondent.
Case 1:18-cv-10933-RA Document 71-4 Filed 05/13/19 Page 17 of 18

State of New York
Court of Appeals

Decided and Entered on the
third day of May, 2018

Present, Hon. Jenny Rivera, Senior Associate Judge, presiding.

 

Mo. No. 2018-289
In the Matter of Manuel P.A.,
Appellant,
V.
Emilie B.,
Respondent.

 

Appellant having moved for reargument in the above cause;

Upon the papers filed and due deliberation, it is

ORDERED, that the motion is denied.

Chief Judge DiFiore took no part.

el ladle

John P. Asiello
Clerk of the Court

 
Case 1:18-cv-10933-RA Document 71-4 Filed 05/13/19 Page 18 of 18

Sale of Neue York

Curt of ppaal

 

fir BP, piel Clerk s Office
Chil Clerk and 20 Eagle Sireet
Legal Counsel to the Count Many, New Youk 1220 4-4 095

Decided May 3, 2018

Mo. No. 2018-289 Motion for reargument denied.
In the Matter of Manuel P.A. Chief Judge DiFiore took no part.
Appellant,
V.
Emilic B.,

Respondent.
